                                 Case:17-03283-LTS Doc#:19807-3 Filed:01/18/22 Entered:01/18/22 13:06:57                               Desc:
                                          Exhibit Exhibit 3 FOMB Authorization to file objection Page 1 of 6
Case No. 17 BK-3283-LTS/Ramhil Developers, Inc./Contract No. 2011-0002444
            From    <elrc@rclopr.com>
            To      <Hermann.Bauer@oneillborges.com>
            Cc      <lstafford@proskauer.com>
            Bcc     'Lisandra Navarro' <lnr@rclopr.com>, 'Lisandra Navarro' <lisandra359@gmail.com>, <elrc@rclopr.com>
            Date    2021-12-27 11:29

  letter h.bauer re ramhil-12-27-2021(Final).pdf (~168 KB)

Hemann:


As discussed earlier today, please see the attached letter.


Edgardo L. Rodríguez-Cardé, Esq, JD, LLM, PE, BSChE
PO Box 365061
San Juan, PR 00936-5061
Telefono: 787-772-9911
Fax: 787-281-7816
Email: elrc@rclopr.com
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Case:17-03283-LTS Doc#:19807-3 Filed:01/18/22 Entered:01/18/22 13:06:57                 Desc:
         Exhibit Exhibit 3 FOMB Authorization to file objection Page 2 of 6



             RC             RODRIGUEZ-CARDÉ LAW OFFICES, P.S.C.
                416 Ponce De León Avenue/Union Plaza/Suite 1503/ San Juan, P.R. 00918
                   Phone (787) 772-9911 / Fax ( 787) 281-7816/ Email: elrc@prtc.net




Via email: Hermann.bauer@oneillborges.com
Hermann Bauer
O'Neill & Borges LLC
250 Muñoz Rivera Avenue
Suite 800
San Juan, PR 00918-1813

RE: PROMESA Title III
    Case No. 17 BK-3283-LTS
    Ramhil Developers, Inc.
    Contract No.: 2011-000244


Dear Mr. Bauer:

We write on behalf of Ramhil Developers, Inc. ("Ramhil")
concerning the lease agreement between Ramhil and the Office of
Courts Administration of Puerto Rico (the "OCA") for the Caguas
Judicial Center, identified as Contract No. 2011-000244 (the
"Contract").

Recently, after December 13, 2021, Ramhil became aware of a
document entitled Notice of Executory Contracts and Unexpired
Leases to be Assumed Pursuant to the Tittle III Plan of
Adjustment, dated November 23, 2021 (the "Notice"). 1 Through the
Notice, Ramhil is advised of the proposed cure costs under the
Contract as well as its right to file a written objection
regarding the proposed cure costs and/or the assumption of the
Contract. The term provided to file objections was set to
December 13, 2021.

The Notice was sent to an address that does not belong to
Ramhil. Ramhil's postal address is PO BOX 7186, Caguas, PR.
00726. However, as you can realize from the document included as
Annex 1, the Notice was sent to PO Box 491, Caguas, PR 00726-
0491 (the "Wrong Address"). Likewise, the Wrong Address arises
from the Schedule included as part of the Notice.2 We conducted a

1   Case No. 17 BK-3283-LTS, Doc# 19,353.

2
    See Id., Schedule, pg. 25, row 11.
 Case:17-03283-LTS Doc#:19807-3 Filed:01/18/22 Entered:01/18/22 13:06:57       Desc:
          Exhibit Exhibit 3 FOMB Authorization to file objection Page 3 of 6
Matter: Contract No. 2011-000244
Ramhil Developers, Inc.
Page 2

  preliminary search, and it appears that the Wrong Address
  belongs to the OCA itself. For reasons unknown to Ramhil, the
  Notice was placed in its mailbox after December 13, 2021.

  Ramhil intends to exercise its right to properly respond to the
  Notice in accordance with the applicable provisions of PROMESA,
  the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy
  Rules, and the orders governing the administration of the
  referenced   Title  III   Case.     Therefore,  considering   the
  circumstances described above, we deem appropriate that the
  Notice be re-sent and a reasonable period to respond be granted.

  We present this communication in accordance with the Bankruptcy
  Rules, Local Bankruptcy Rules and the orders governing the
  administration of the referenced Title III Case, to reach a
  solution   to   his   matter   before requesting  the   Court's
  intervention. Given the circumstances, we would appreciate your
  prompt response to his matter.

  Cordially,


  f/ Edgardo L. Rodríguez Cardé
  Edgardo L. Rodríguez Cardé
Case:17-03283-LTS Doc#:19807-3 Filed:01/18/22 Entered:01/18/22 13:06:57       Desc:
         Exhibit Exhibit 3 FOMB Authorization to file objection Page 4 of 6

                                                                    Annex 1
                                 Case:17-03283-LTS Doc#:19807-3 Filed:01/18/22 Entered:01/18/22 13:06:57                               Desc:
                                          Exhibit Exhibit 3 FOMB Authorization to file objection Page 5 of 6
RE: Case No. 17 BK-3283-LTS/Ramhil Developers, Inc./Contract No. 2011-0002444
            From    <elrc@rclopr.com>
            To      <Hermann.Bauer@oneillborges.com>
            Cc      <lstafford@proskauer.com>
            Bcc     'Lisandra Navarro' <lnr@rclopr.com>, 'Lisandra Navarro' <lisandra359@gmail.com>, <elrc@rclopr.com>
            Date    2021-12-28 05:50

Herman/Laura:
Please note that although the letter attached to the email sent yesterday does not include a date it was issued by the subscriber yesterday (December 27, 2021).
Regards,


Edgardo L. Rodríguez-Cardé, Esq, JD, LLM, PE, BSChE
PO Box 365061
San Juan, PR 00936-5061
Telefono: 787-772-9911
Fax: 787-281-7816
Email: elrc@rclopr.com
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From: elrc@rclopr.com <elrc@rclopr.com>
Sent: Monday, December 27, 2021 3:30 PM
To: 'Hermann.Bauer@oneillborges.com' <Hermann.Bauer@oneillborges.com>
Cc: 'lstafford@proskauer.com' <lstafford@proskauer.com>
Subject: Case No. 17 BK-3283-LTS/Ramhil Developers, Inc./Contract No. 2011-0002444


Hemann:


As discussed earlier today, please see the attached letter.


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            From    Hermann Bauer <Hermann.Bauer@oneillborges.com>
            To      elrc@rclopr.com <elrc@rclopr.com>
            Cc      lstafford@proskauer.com <lstafford@proskauer.com>
            Date    2021-12-28 13:56

Saludos, Edgardo.


This confirms that we are in agreement to extend the deadline for Ramhil to respond to the Notice of Assumption until January 18, 2022.

I wish Yarymar and you a very Happy and Prosperous 2022!


Abrazo,

Hermann




From: elrc@rclopr.com <elrc@rclopr.com>
Sent: Tuesday, December 28, 2021 9:50 AM
To: Hermann Bauer <Hermann.Bauer@oneillborges.com>
Cc: lstafford@proskauer.com <lstafford@proskauer.com>
Subject: RE: Case No. 17 BK-3283-LTS/Ramhil Developers, Inc./Contract No. 2011-0002444

Herman/Laura:
Please note that although the letter attached to the email sent yesterday does not include a date it was issued by the subscriber yesterday (December 27, 2021).
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